     Case 5:06-cr-00014-MFU-JCH                Document 194           Filed 12/15/11         Page
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U N ITED STA TE S O F AM ER IC A,                  )
                                                   )        Crim inalNo.5:06cr00014-3
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V.                                                 )        2255 M EM O M N D UM O PIN IO N
                                                   )
JOSEPH RODNEY BRO OK S.                            )        By:Sam uelG .W ilson
                                                   )        United StatesD istrictJudge

        This is a m otion pursuant to 28 U.S.C.j 2255 by Joseph Rodney Brooks,a federal

inm ate proceeding pro se, challenging his 2007 conviction and sentence. The m otion is

successiveandthecourtisconstrainedtosummarilydismissitforlackofjurisdiction.


        Brooks challenges his 262-m onth sentence for conspiring to distribute and possessing

with the intentto distribute asleast50 gram sofcocaine base and atleast500 gram sofcocaine

hydrochloride,inviolation of21U.S.C.jj841(a)(1)and 846.Brookspreviouslyfiledaj2255
motion regarding the sam e conviction and sentence,which thiscourtdenied. See DocketNos.

      171,and 172. Thiscourtmay consider a second orsuccessive j 2255 motion only if
authorized bytheUnited StatesCourtofAppealsfortheFourth Circuit.Seej225541$. Absent
thatauthorization,thiscourtlacksjurisdiction to considerasuccessive j 2255 motion. United
Statesv.W inestock,340 F.3d 200 (4th Cir.2003). Asthere isno evidence thatBrooks has
obtained therequisite authorization from theCourtofAppealsto file asecond orsuccessive j
2255 m otion, thecourtmustdismissthemotionforlackofjurisdiction.1


l Brooksisadvised ofthe procedure forobtaining certification from the United States CourtofAppealsforthe
Fourth Circuitto havethiscourtreview a successive j 2255 motion. He mustsubmita copy ofthe successive j
2255 m otion to the CourtofAppeals,along w ith a motion requesting thata panelofthatcourtcertify thatthe district
courtmayreview thesuccessivej2255motion. See28U.S.C.j2244 (asamended,1996). A Foul'th Circuitform
and instructionsforfiling thism otionw illbeincludedw iththisnoticeorareavailablefrom theFourth Circuitatthe
following address:O ffk e of the Clerk, United States Court of Appeals for the Fourth Circuit,9O0 E.M ain St.,
Richm ond,VA 23219.
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                                            Il.

       Forthereasonsstated,thecourtdismissesBrooks'j2255motion forlack ofjurisdiction
because itissuccessive.

       The Clerk is directed to send copies ofthisM em orandum Opinion and the accom panying

Orderto the parties.

       EN TER : This D ecem ber 15,2011.
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                                                  United States D istrictJudge
